Case 1:12-cr-00132-JMB        ECF No. 1666, PageID.21794           Filed 04/11/16     Page 1 of 2


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 1:12-CR-132 (02)

 v.                                                         HON. ROBERT HOLMES BELL

 MARIO HERRERA,

             Defendant.
 ____________________________________/

                            MEMORANDUM OPINION AND ORDER

        Defendant Mario Herrera has filed a motion for modification or reduction of sentence (ECF

 No. 1461) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

 Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        At the time of Defendant’s sentencing on October 22, 2013, the Presentence Report showed

 an offense level 35 and Criminal History Category I, for a Guideline Range of 168 - 210 months

 custody. Based on the defendant’s substantial assistance, the Court granted a 4-level 5K1.1

 downward departure motion, reducing the adjusted offense level to 31 and Guideline Range to 108 -

 135 months. Defendant was sentenced to 108 months custody. This Court reduced Defendant’s

 sentence on July 15, 2014, to 92 months custody, following the granting of a Rule 35(b) motion.
Case 1:12-cr-00132-JMB         ECF No. 1666, PageID.21795             Filed 04/11/16      Page 2 of 2


        The Probation Department filed a sentence modification report on February 29, 2016 (ECF

 No. 1649). In its report, the Probation Department recommends that the Defendant is eligible for

 a reduction in sentence based on Defendant currently being an inmate, USSG § 2D1.1 was used in

 the guideline calculations, and the guideline range applicable to the defendant subsequently has been

 lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

 of sentence is consistent with the policy statements of the U.S. Sentencing Commission. Based on

 the 2-point reduction, the adjusted offense level becomes 34, for a guideline range of 151 - 188

 months custody. Based on the prior 5K1.1 and Rule 35 reductions, the Probation Department

 recommends a reduction in sentence from 92 to 83 months.

        The Defendant filed a response to the Sentencing Modification Report (ECF No. 1660)

 arguing that Defendant’s sentence should be reduced 16 months from the adjusted guideline range

 of 97 - 121 months so he doesn’t lose the 16 months he previously received for the Rule 35(b)

 reduction.

        The Government filed a response to the Sentence Modification Report (ECF No. 1664)

 concurring with the Probation Department’s assessment that Defendant Herrera is eligible for

 consideration of a sentence modification pursuant to USSG Amendment 782. The Government

 agrees that his amended guideline range becomes 97 - 121 months in prison and inclusion of the 16

 months Rule 35(b) reduction results in a sentence of no less than 81 months.

        NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

 of sentence (ECF No. 1461) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Mario

 Herrera's sentence shall be reduced to 81 months. An order effectuating the sentence reduction shall

 issue forthwith.


 Dated: April 11, 2016                            /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
